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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA

DEMOCRATIC EXECUTIVE
COMMITTEE OF FLORIDA, and BILL
NELSON FOR U.S. SENATE,

      Plaintiff,

v.                                              CASE NO. 4:18-cv-00520-RH-MJF

KEN DETZNER, in his official capacity as
Florida Secretary of State,

      Defendant.
                                      /

     NOTICE OF FILING SECURITY FOR TEMPORARY INJUNCTION

      Pursuant to this Court’s Order Granting Preliminary Injunction dated

November 15, 2018, Plaintiffs give notice of having filed security in the amount of

$500 with the Clerk of Court on November 15, 2018 - Receipt #FLN400035435

(copy attached).

                                          Respectfully submitted,

                                                    /s/
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       Case 4:18-cv-00520-MW-MJF Document 51 Filed 11/15/18 Page 2 of 3



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                                       Facsimile: (202) 654-6211

                                       Counsel for Plaintiffs

                                       *Appearing Pro Hac Vice


                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of November, 2018, I

electronically filed the foregoing with the Clerk of the Court using the CM/ECF

system. I further certify that I mailed the foregoing documents and the notice of

electronic filing by first-class mail to the following non-CM/ECF participants:

None

                                                /s/
                                      RONALD G. MEYER
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                                       2
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